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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                             GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                    CR-10-24-GF-BMM-RKS

                 Plaintiff,                   FINDINGS AND
                                              RECOMMENDATIONS TO
       vs.                                    REVOKED DEFENDANTS
                                              SUPERVISED RELEASE
 TYRELL JOHN T.J. CONNOR,

                 Defendant.



                                    I. Synopsis

      Mr. Connor was accused of violating his conditions of supervised release by

failing to report for urinalysis testing and failing to complete substance abuse

treatment. He admitted the violations. Mr. Connor’s supervised release should be

revoked. He should be placed in custody for six months and ordered to serve 54

months supervised release, with the first six months in a pre-release center.

                                     II. Status

      Mr. Connor plead guilty in 2010 to Arson. Doc. 80. He was sentenced to 45

months incarceration with five years supervised release to follow, and ordered to

pay $220,000 restitution. Doc. 106. He began the supervised release period in

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Wyoming in October 2013, where he resided in a pre-release facility. Mr. Connor

returned to Montana in January 2014 after he was terminated from his job, and

signed the terms of his supervision in the District of Montana on February 6, 2014.

Doc. 123.

Petition

       The United States Probation Office filed a petition on May 15, 2014, asking

the court to revoke Mr. Connor’s supervised release. The petition accused Mr.

Connor of failing to report for urinalysis testing on March 26, April 11, and April

28, 2014, in violation of Special Condition 1 of his supervised release. The

petition also accused Mr. Connor of failing to attend substance abuse therapy

sessions on March 26, April 2, April 16, and April 23, 2014, in violation of Special

Condition 2 of his supervised release. Doc. 123. Based on the petition, United

States District Judge Brian Morris issued a warrant for Mr. Connor’s arrest. Doc.

124.

Initial appearance

       Mr. Connor appeared before the undersigned on May 20, 2014, in Great

Falls, Montana. He was accompanied at the initial appearance by Federal

Defender R. Henry Branom. Assistant United States Attorney Jessica Betley

represented the United States.


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      Mr. Connor said he had read the petition and understood the allegations.

Ms. Betley warned Mr. Connor that he could be incarcerated for up to 36 months if

his supervised release is revoked. The undersigned explained Mr. Connor’s rights,

including the right to a revocation hearing before United States District Judge

Brian Morris, who is presiding over the case.

      Mr. Connor waived the preliminary hearing. Mr. Branom requested an

immediate revocation hearing before the undersigned. He and Ms. Betley

consented to the jurisdiction of a magistrate judge. The hearing commenced.

Revocation hearing

      Mr. Connor appeared at the revocation hearing with Mr. Branom. Ms.

Betley appeared for the United States.

      Mr. Connor admitted missing substance abuse testing appointments and

failing to complete substance abuse treatment, as alleged in the petition. The

undersigned found the admissions sufficient to establish violations, and believes

the violations warrant revocation of Mr. Connor’s supervised release.

      Mr. Connor’s violation is Grade C, his criminal history category is I, and his

underlying offense is a Class B felony. He could be incarcerated for up to 36

months. He could be ordered to remain on supervised release for up to 60 months,

less any custodial time imposed. The United States Sentencing Guidelines call for


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three to nine months in custody. U.S. Guideline Manual, Ch. 7. Ms. Betley and

Mr. Branom agreed with those calculations.

      Mr. Branom requested a sanction at the low end of the guideline range, with

supervised release to follow. He explained that Mr. Connor hit a rough patch

during his release, and gave up on treatment. Mr. Branom said a sanction

including some time in a pre-release facility would be appropriate for Mr. Connor.

Mr. Branom pointed out that Mr. Connor owes significant restitution that he cannot

pay while incarcerated.

      Mr. Connor addressed the court. He said that he does well when he is

employed and active, but struggles with down time. He explained that during his

supervised release period he got into trouble when he was unable to find work.

Mr. Connor said he gave up on successfully completing supervised release.

      Ms. Betley requested a custodial sanction in the middle of the guideline

range. She recognized that Mr. Connor’s violations were less egregious than some,

but still amounted to a simple choice to disregard conditions. Ms. Betley said she

had no objection to inclusion of a pre-release requirement.

                                  III. Analysis

      Mr. Connor’s supervised release should be revoked because he admitted to

violating conditions. He should be incarcerated for six months, with 54 months


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supervised release to follow and a requirement that he reside in a pre-release

facility for the first six months of supervision.

      A custodial sanction is warranted because Mr. Connor deliberately chose to

ignore conditions of his supervised release. Those conditions were imposed to

help Mr. Connor overcome substance abuse issues, both for his benefit and for the

safety of the community in which he lives. On the other hand, the violations did

not directly endanger the community and do not suggest that Mr. Connor cannot

abide by the law in the future.

      The maximum term of supervised release should be imposed. Mr. Connor

acknowledged that he tends to “get into trouble” when he is not occupied.

Supervision will discourage Mr. Connor from making poor choices and provide

him support and treatment. A condition of supervised release should be added to

require Mr. Connor to reside in a pre-release center for the first six months of the

supervision period. The additional structure is likely to benefit Mr. Connor by

gradually helping him learn to live in the community.

                                   IV. Conclusion

      Mr. Connor was advised that the above sentence would be recommended to

Judge Morris. He was reminded of his right to object to these Findings and

Recommendations within 14 days of their issuance. The undersigned explained


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that Judge Morris would consider Mr. Connor’ objection, if it is filed within the

alloted time, before making a final determination on whether to revoke Mr.

Connor’s supervised release and what, if any, sanction to impose.

The court FINDS:

      1.     Mr. Connor violated Special Condition 1 of his supervised release by
             failing to report for urinalysis testing on March 26, April 11, and April
             28, 2014.

      2.     Mr. Connor violated Special Condition 2 of his supervised release by
             failing to report for substance abuse treatment on March 26, April 2,
             April 16, and April 23, 2014.

      The court RECOMMENDS:

      1.     The District Court should enter the attached Judgment, revoking Mr.
             Connor’s supervised release and committing Mr. Connor to the
             custody of the United States Bureau of Prisons for six months, with 54
             months supervised release to follow. The District Court should
             impose the same supervised release conditions previously imposed,
             which are fully set forth in the attached Judgment, along with the
             additional condition that Mr. Connor reside in a pre-release facility for
             the first six months of the supervision period.


        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT


      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo
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determination regarding any portion of the Findings and Recommendations to

which objection is made. The district judge may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Failure to timely file written

objections may bar a de novo determination by the district judge, and may waive

the right to appear and allocute before a district judge.

      Dated the 21st day of May, 2014.




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